                        Case 5:19-cv-03125-SVK Document 8 Filed 06/05/19 Page 1 of 1
^iAO440 (Rev. 8/01) Summons in a Civil Action



                                      United ST^T^g|jj^TRiCT Court
                          Northern                       District of                      California

                       Cecilia Mangaoang

                                                                         SUMMONS IN A CIVIL ACTION
                                 V.                                 U
        SPECIAL DEFAULT SERVICES, INC.; et al.


                                                               ^S£-N^BER;19 03125
                                                                                                         VKD

                   TOl (Name and addrc.ss ofDefendant)

                           WILMINGTON TRUST. NA, as Trustee
                           c/o Darren J. King, Executive VP & CFO
                           1100 North Market Street
                           Wilmington. DE 19890-0001



         YOU ARE HEREBY SUMMONED and required to serve on PLAINTIFF'S ATTORNEY (name and address)
                           Cecilia Mangaoang
                            1765 Landess Ave, PMB #323
                            Mllpitas, CA 95035




an answer to the complaint which is served on you with this summons, within              21            days after service
of this summons on you, exclusive ofthe day of service. If you fail to doso, judgment by default will be takenagainstyou
for the relief demanded in the complaint. Any answer that you serve on the parties to this action must be filed with the
Clerk of this Court within a reasonable period of time after sei*vice.




                  SUSAN Y.SOONG                                           '""^052019
CLERK                                                           DATE


                       Betty j. waltnn
(By) DEPUTY Ci.HRK
